Case 22-90227-AKM-11          Doc 146     Filed 03/14/23      EOD 03/14/23 13:13:05        Pg 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

IN RE:                                         )        Chapter 11
                                               )
TRINITY GUARDION, INC.,                        )        CASE NO.      22-90227-AKM-11
                                               )
                            Debtor.            )

                               APPLICATION FOR FINAL DECREE

         Trinity Guardion, Inc. (“Trinity” or “Debtor”), debtor-in-possession herein, by counsel, for its

Application for Final Decree hereby advises as follows:

         1.     Debtor filed the above-referenced bankruptcy proceeding pursuant to the provisions of

Chapter 11 of Subchapter V of the Bankruptcy Code on March 23, 2022.

         2.     Trinity’s Amended Small Business Chapter 11 Plan (the "Plan") was confirmed on

January 20, 2023.

         3.     The terms and conditions of the Plan have been substantially consummated pursuant to

the provisions of 11 U.S.C §1101(2).

         4.     The unsecured creditors will receive a distribution of approximately 19%, excluding

any distribution to the Jean Ann Downey Trust Dated 8/15/90.

         5.     The Chapter 11 Plan calls for payments to various classes of creditors over a specified

time period.    Trinity is current on its plan payments and there is no need for the Court’s intervention.

         6.     Trinity has made arrangements to pay professional fees to its counsel pursuant to an

Order Authorizing Final Application for Allowance of Compensation and Reimbursement of Out-of-

Pocket Expenses [Doc. 138] entered February 14, 2023.




                                                    1
Case 22-90227-AKM-11          Doc 146      Filed 03/14/23   EOD 03/14/23 13:13:05         Pg 2 of 2




       WHEREFORE, Trinity Guardion, Inc. requests that this court enter an order finding the Plan

to be substantially consummated, issue a discharge (if applicable), closing this estate, and for any and

all other relief just and proper in the premises.

                                               HESTER BAKER KREBS LLC

                                               By____/s/ David R. Krebs_____________
                                                     David R. Krebs
                                                     Hester Baker Krebs LLC
                                                     One Indiana Square Street, Suite 1330
                                                     Indianapolis, IN 46204
                                                     (317) 833-3030; Fax: (317) 833-3031
                                                     Email: dkrebs@hbkfirm.com


                                    CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2023, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case Filing
System. Parties may access this filing through the Court’s system.

          •   Andrew May        amay@nge.com, ecfdocket@nge.com, cdennis@nge.com
          •   Alisa Micu      amicu@stites.com
          •   Dennis J Perrey     dennis.perrey@yahoo.com
          •   Steven Pflaum      spflaum@nge.com, ewilson@nge.com, ecfdocket@nge.com
          •   Brian Robert Pollock      bpollock@stites.com, stitesCOMPULAW@stites.com
              doregan@stites.com
          •   Damaris D Rosich-Schwartz        damaris.d.rosich-schwartz@usdoj.gov
          •   U.S. Trustee     ustpregion10.in.ecf@usdoj.gov
          •   Thomas Wolford       twolford@nge.com, cdennis@nge.com, ecfdocket@nge.com

       I further certify that on March 14, 2023, a copy of the foregoing was mailed by first-class U.S.
Mail, postage prepaid, and properly addressed to the following:

       n/a


                                               /s/ David R. Krebs
                                               David R. Krebs




                                                    2
